Keith Y. Boyd, OSB #760701
keith@boydlegal.net
The Law Offices of Keith Y. Boyd
724 S. Central Ave., Suite 106
Medford, OR 97501
Telephone: (541) 973-2422
Facsimile: (541) 972-2426
       Of Attorneys for Debtor in Possession



                             UNITED STATES BANKRUPTCY COURT

                                 FOR THE DISTRICT OF OREGON

 In re:                                                 Case No. 18-61140-tmr11

 Carleton Farms,                                       MOTION TO WITHDRAW APPLICATION
                                                        FOR EMPLOYMENT OF ATTORNEYS
                                                        FOR DEBTOR IN POSSESSION (The Law
                                                        Offices of Keith Y. Boyd)
                           Debtor.
                                                        Expedited Consideration Requested


           Come now Keith Y. Boyd and The Law Offices of Keith Y. Boyd and move the court for

an order allowing the withdrawal of the Application for Employment of Attorneys for Debtor in

Possession in this matter filed on April 12, 2018 as Document 3. Keith Y. Boyd and The Law

Offices of Keith Y. Boyd request consideration of this motion on an expedited basis.

           This motion is supported by the Declaration of Keith Y. Boyd attached hereto.

           DATED this 19th day of April, 2018.

                                                  THE LAW OFFICES OF KEITH Y. BOYD

                                                  By:     /s/ Keith Y. Boyd
                                                          Keith Y. Boyd, OSB #760701




MOTION TO WITHDRAW APPLICATION FOR EMPLOYMENT OF ATTORNEYS FOR
DEBTOR IN POSSESSION (The Law Offices of Keith Y. Boyd) - Page 1 of 1

                         Case 18-61140-tmr11            Doc 43   Filed 04/19/18
Keith Y. Boyd, OSB #760701
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       Of Attorneys for Debtor in Possession

                            UNITED STATES BANKRUPTCY COURT

                                 FOR THE DISTRICT OF OREGON

 In re:                                               Case No. 18-61140-tmr11

 Carleton Farms,                                     DECLARATION OF KEITH Y. BOYD IN
                                                     SUPPORT OF MOTION TO WITHDRAW
                                                     APPLICATION FOR EMPLOYMENT OF
                          Debtor.                    ATTORNEYS FOR DEBTOR IN
                                                     POSSESSION (The Law Offices of Keith Y.
                                                     Boyd)

          I, Keith Y. Boyd, under penalty of perjury state as follows:

          1.     I am an attorney duly admitted to practice in the state of Oregon and in this Court.

I am the principal of The Law Offices of Keith Y. Boyd (hereinafter Boyd).

          2.     I make this declaration in support of the Motion to Withdraw the Application of

Boyd to be employed as the attorney for the Debtor in Possession, the Declaration of Keith Y.

Boyd in Support, and the Rule 2014 Verified Statement all herein which were filed on April 12,

2018 as Document 3.

          3.     Boyd holds $61,385.95 ($60,325.95 as the attorney fee retainer, $1,783 for costs)

in its trust account of the funds received for its retainers.

          4.     Prior to filing this case, Boyd received three retainer payments which were

deposited into Boyd’s client trust account. The first was received on July 31, 2017 from

Carleton Farms in the sum of $10,000. All of the $10,000 was applied to invoices prior to the

filing of this case. The second retainer of $50,000 was received on February 23, 2018 from C4


DECLARATION OF KEITH Y. BOYD IN SUPPORT OF MOTION TO WITHDRAW
APPLICATION FOR EMPLOYMENT OF ATTORNEYS FOR DEBTOR IN POSSESSION
(The Law Offices of Keith Y. Boyd) - Page 1 of 3


                        Case 18-61140-tmr11         Doc 43      Filed 04/19/18
Land and Livestock LLC. The third retainer of $25,000 was received on April 5, 2018 from C4

Land and Livestock LLC. Prior to filing this case, Boyd applied $13,614.05 to invoices. That

amount will be restored to the client trust account. If this case is dismissed, those funds will be

turned over to the state court receiver of assets of the debtor. If this case is not dismissed, those

funds will be turned over pursuant to an order of this court.

       5.      This case was filed on April 12, 2018. Today the debtor in possession will

withdraw its motions to use cash collateral, for turnover of assets, and to continue utility

services. The Receiver has filed a Motion to excuse turnover of assets. Umpqua Bank has filed a

Motion to Dismiss. Hearings on the debtor in possession’s motions is set for April 20, 2018 at

10:30 am. It was expected that the Receiver’s Motion to excuse turnover would be heard at the

same time. The court has not set a date for the Motion to Dismiss. The deadline to file missing

documents is April 26, 2018. The 341(a) meeting of creditors is set for May 8, 2018. The first

Rule 2015 Report is due May 21, 2018. The deadline to file Proofs of Claim is June 21, 2018.

The Exclusivity Period expires August 10, 2018.

       6.      My firm is required to terminate representation of debtor by Rule 1.16(a)(1) of the

Oregon Rules of Professional conduct as there exists a non-waivable conflict of interest. In the

event the Court finds that withdrawal is not required under Rule 1.16(a)(1), withdrawal is

permitted under Rule 1.16(b) for cause. However, I am bound by the attorney-client privilege

not to disclose such cause in connection with this Declaration.

       7.      I have had extensive discussions with Jim Carleton, the managing partner of the

debtor regarding the future of this case. The debtor consents to this motion to withdraw.

       8.      The debtor’s address is P.O. Box 362, Merrill, Oregon 97633. Jim Carleton’s

phone number is 541-891-9424 and his email address is jim@carletonfarms.ag.




DECLARATION OF KEITH Y. BOYD IN SUPPORT OF MOTION TO WITHDRAW
APPLICATION FOR EMPLOYMENT OF ATTORNEYS FOR DEBTOR IN POSSESSION
(The Law Offices of Keith Y. Boyd) - Page 2 of 3


                       Case 18-61140-tmr11         Doc 43       Filed 04/19/18
       9.      Boyd will waive all fees incurred in connection with the preparation and filing of

this case. The amounts set forth in paragraph 4 above that will be restored to the retainer in trust

represents the amount billed for services directly related to the filing of this case. Fees and costs

paid prior to that were billed and paid prior to the decision to file this case and will be retained.

       10.     A copy of the proposed Order Allowing Withdrawal of the Law Offices of Keith

Y. Boyd as Counsel of Record for Debtor is attached as Exhibit 1.

       I HEREBY DECLARE THAT THE ABOVE STATEMENTS ARE TRUE TO THE BEST OF
MY KNOWLEDGE AND BELIEF, AND THAT I UNDERSTAND THEY ARE MADE FOR USE AS

EVIDENCE IN COURT AND ARE SUBJECT TO PENALTY FOR PERJURY UNDER THE LAWS OF

THE UNITED STATES OF AMERICA.

       Executed this 19th day of April, 2018.


                                               /s/ Keith Y. Boyd
                                               Keith Y. Boyd, OSB #760701




DECLARATION OF KEITH Y. BOYD IN SUPPORT OF MOTION TO WITHDRAW
APPLICATION FOR EMPLOYMENT OF ATTORNEYS FOR DEBTOR IN POSSESSION
(The Law Offices of Keith Y. Boyd) - Page 3 of 3


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                           UNITED STATES BANKRUPTCY COURT

                              FOR THE DISTRICT OF OREGON

 In re:                                            Case No. 18-61140-tmr11

 Carleton Farms,                                  ORDER ALLOWING WITHDRAWAL OF
                                                  THE LAW OFFICES OF KEITH Y. BOYD
                 Debtor.                          AS COUNSEL OF RECORD FOR DEBTOR


          THIS MATTER came before the court upon the Motion to Withdraw Application for

Employment of Attorneys for Debtor in Possession (The Law Offices of Keith Y. Boyd) (herein

“Boyd”) [Dkt No.       ]. The court having held a hearing on                        and heard

representations of counsel, having reviewed the file, the motion, the declaration of Keith Y.

Boyd accompanying said motion, and the court now being fully advised,

          IT IS HEREBY ORDERED that the Motion of Boyd to withdraw as counsel for Debtor

is granted and Boyd shall be removed as counsel of record for Debtor herein.




ORDER ALLOWING WITHDRAWAL OF THE LAW OFFICES OF KEITH Y. BOYD AS
COUNSEL OF RECORD FOR DEBTOR - Page 1 of 2


Exhibit 1
Page 1 of 2
                       Case 18-61140-tmr11       Doc 43     Filed 04/19/18
       IT IS FURTHER ORDERED that the retainer in possession of Boyd will be addressed in

a further order of the Court.

                                            ###
Proponent has provided notice as required by LBR 9021-1 and received no objections during the
applicable circulation period which has now expired.


THE LAW OFFICES OF KEITH Y. BOYD


By:    /s/
       Keith Y. Boyd, OSB #760701
       keith@boydlegal.net
       724 S. Central Ave., Suite 106
       Medford, OR 97501
       Telephone: 541-973-2422
       Facsimile: 541-973-2426
              Of Attorneys for Debtors in Possession


cc:
via Manual Service:




ORDER ALLOWING WITHDRAWAL OF THE LAW OFFICES OF KEITH Y. BOYD AS
COUNSEL OF RECORD FOR DEBTOR - Page 2 of 2


Exhibit 1
Page 2 of 2
                      Case 18-61140-tmr11      Doc 43    Filed 04/19/18
                                 CERTIFICATE OF SERVICE

        I hereby certify that on April 19, 2018, I served the following WITHDRAWAL OF
DOCUMENTS by depositing in the United States mail at Springfield, Oregon full and complete
copies thereof, by first class mail, postage prepaid, or email transmission where indicated,
addressed to the following:

       Carleton Farms (via email also)
       PO Box 462
       Tulelake CA 96134

       I hereby certify that on April 19, 2018, I determined from the United States Bankruptcy
Court electronic case filing system that the following parties will be served electronically via
ECF:

       KEITH Y BOYD ecf@boydlegal.net, arnold@boydlegal.net
       BRADLEY S COPELAND bcopeland@agsprp.com, bdavis@agsprp.com
       DAVID B GRAY david@davegraylaw.com, dgrayattorney@gmail.com
       JEFFREY C MISLEY jmisley@sussmanshank.com, jhume@sussmanshank.com,
             ecf.jeffrey.misley@sussmanshank.com
       DOUGLAS R RICKS vbcservicedougr@yahoo.com, doug@vbcattorneys.com
       US Trustee, Eugene USTPRegion18.EG.ECF@usdoj.gov
       ROBERT J VANDEN BOS vbcservice@yahoo.com, sara@vbcattorneys.com
       PATRICK W WADE hhecfb@hershnerhunter.com

                                             THE LAW OFFICES OF KEITH Y. BOYD


                                             By:     /s/ Melissa A. Arnold
                                                     Melissa A. Arnold, ACP
                                                     Paralegal




CERTIFICATE OF SERVICE - Page 1 of 1


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